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United States Bankruptcy Court for the:

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Southern District of New York [-} ae eNOS i = U
(State) NEW YORK
Case number (if known): Chapter CI Check if this is an
i074 amendéd filing
Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name 36 Tarrytown LLC

2. All other names debtor used

 

in the last 8 years

 

Include any assumed names,

 

trade names, and doing business

 

as names

 

3. Debtor’s federal Employer 9 3
Identification Number (EIN) = oo

4. Debtor’s address Principal place of business

Mailing address, if different from principal place

 

 

 

 

 

 

 

of business

36 Storm Street

Number Street Number Street
P.O. Box

Tarrytown NY Tarrytown

City State ZIP Code City State ZIP Code
Location of principal assets, if different from

rincipal place of business
Westchester P P
County

5. Debtor’s website (URL)

 

Number Street

 

 

City State ZIP Code

 

Official Form 201

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Debtor 36 Tarrytown LLC

Case number (ir known)

 

Name

6. Type of debtor

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor’ must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor”) must
check the second sub-box.

Official Form 201

d Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
() Partnership (excluding LLP)
CL) Other. Specify:

 

A. Check one:

CJ Health Care Business (as defined in 11 U.S.C. § 101(27A))
W Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(} Railroad (as defined in 11 U.S.C. § 101(44))

LY Stockbroker (as defined in 11 U.S.C. § 101(53A))

LJ Commodity Broker (as defined in 11 U.S.C. § 101(6))

QQ Clearing Bank (as defined in 11 U.S.C. § 781(3))

LJ None of the above

B. Check ail that apply:

UL] Tax-exempt entity (as described in 26 U.S.C. § 501)

L] Investment company, including hedge fund or pooted investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Avww.uscourts.gov/four-digit-national-association-naics-codes .

5 3 1 3

 

Check one:

a Chapter 7
LJ Chapter 9
QU) Chapter 11. Check all that apply:

UI The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

LJ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

LJ A plan is being filed with this petition.

Q Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

L] The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment fo Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

LJ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

QO Chapter 12

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor 36 Tarrytown LLC

Name

Case number (if known),

 

9. Were prior bankruptcy cases [4 No
filed by or against the debtor
within the last 8 years? UL) Yes. District When Case number
MM/ DD/YYYY

If more than 2 cases, attach a a
separate list. District When Case number

MM/ DD/YYYY

 

 

10. Are any bankruptcy cases df No
pending or being filed by a
business partner or an QO) Yes. Debtor Relationship
affiliate of the debtor? District Wien
List all cases. If more than 1, MM / DD /YYYY
attach a separate list. Case number, if known

 

11. Why is the case filed in this = Check ail that apply:
district? . a a : 7 «abi tees

Wi Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

LJ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own orhave (No
possession of any real
property or personal property
that needs immediate Why does the property need immediate attention? (Check all that apply.)
attention?

C) Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

CY it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

C) It needs to be physically secured or protected from the weather.

LJ it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

LJ Other

 

Where is the property?

 

Number Street

 

 

City State ZIP Cade

Is the property insured?

LI No

UL) Yes. Insurance agency

 

Contact name

 

Phone

fe Statistical and administrative information

 

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Debtor 36 Tarrytown LLC

 

Name

Case number (if known),

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13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

15. Estimated assets

16. Estimated liabilities

Check one:

(J Funds will be available for distribution to unsecured creditors.

UW After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

1-49

C} 50-99
L) 100-199
CL) 200-999

C} $0-$50,000

CL} $50,001-$100,000
CJ $100,001-$500,000
4 $500,001-$4 million

CQ] $0-$50,000

LJ $50,001-$100,000
Cl $100,001-$500,000
@) $500,001-$1 million

LQ 1,000-5,000
L) 5,001-10,000
L) 10,001-25,000

CL) $1,000,001-$10 million

LY $10,000,001-$50 million
L) $50,000,001-$100 million
L} $100,000,001-$500 million

LJ $1,000,001-$10 million

L} $10,000,001-$50 million
C} $50,000,001-$100 million
(J $100,000,001-$500 million

LJ 25,001-50,000
LJ 50,001-100,000
CJ More than 100,000

C) $500,000,001-$1 billion

LI $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
QL) More than $50 billion

LJ} $500,000,001-$1 billion

L) $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
L) More than $50 billion

eS Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can resuit in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 07 [7] [202%
,MM /DD/YYYY 1 Pp
x AL
Signature of authorized representative of debtor
an \
\

Title \anaaiag [lembes
|

i
Lalie Linda
Printed name

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
www.nyeb.uscourts.gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): 5 [ heey h. “ Ul C CASE NO.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iil)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of
either of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

CJ NO ORDER BARRING DEBTOR FROM FILING A PETITION UNDER ANY CHAPTER IS IN EFFECT.
CO NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

CO THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

 

CASE PENDING: (YES/NO): {If closed| Date of Closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

¢ SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

« SCHEDULE A/B: ASSETS —- REAL PROPERTY "OFFICIAL FORM 206A4/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B —PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

 

2, CASE NO.: JUDGE: DISTRICT/DIVISION:

 

CASE PENDING: (YES/NO): [if closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

¢ SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

e« SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

 
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[OVER]
DISCLOSURE OF RELATED CASES (cont’d)
CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): [if closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:
I am admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that:
e The within bankruptcy case is not related to any case pending, or pending within the last eight years, except as indicated on this

form.
e I, the above-named debtor, am currently not barred by any order of this court from filing fot bankruptcy.

4—-e—

Signature of Pro-se Debtor/Petitioner

 

Signature of Debtor’s Attorney

 

Mailing Address of Debtor/Petitioner

 

City, State, Zip Code

 

Email Address

 

Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or

the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise

result.
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re: Case No.

Chapter

Debtor(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated: 7/7 [23

afer | ' me j
5(, Lact bi LLC ff
Debtor ‘

 

Joint Debtor

 

Attorney for Debtor

USBC-44 Rev. 11/15
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CREDITORS LIST

1) JPMORGAN CHASE BANK, NATIONAL ASSOCIATION

1111 Polaris Pkwy
Columbus, OH 43240
